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CURRICULUM VITAE

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Personal Details

Degrees:                    B.A. (Hons.), Jurisprudence (Oxon.) — 1968
                            M.A. (Oxon.) — 1972
                                    D.Phil. (Oxon.) — 1974
Professional qualification: Member of the English Bar
                            (In practice from 2001-2018 at Blackstone Chambers,
                            Blackstone House, Temple, London EC4Y 9BW. Tel. +44
                            (0)20 7583 1770: www.blackstonechambers.com)

Employment and appointments

       2017–         Professor of Law, University of New South Wales, Sydney,
                     NSW, Australia
       2017–2018     Acting Director, Kaldor Centre for International
                     Refugee Law, UNSW, Sydney, Australia:
                     http://www.kaldorcentre.unsw.edu.au/
       2016–         Co-Chair, International Refugee Law Interest Group, American
                     Society of International Law: https://www.asil.org/
       2015–         Honorary Associate, Refugee Studies Centre, Oxford
       2015–2017     Visiting Professorial Fellow, University of New South
                     Wales, Sydney, NSW, Australia
       2015–         Honorary Senior Fellow, Melbourne Law School, University of
                     Melbourne, Melbourne, VIC, Australia
       2014–         Emeritus Fellow, All Souls College, Oxford: www.all-
                     souls.ox.ac.uk
       2014–         Emeritus Professor of International Refugee Law, University of
                     Oxford, Oxford, United Kingdom
       2002–2014     Senior Research Fellow, All Souls College, Oxford:
                     www.all-souls.ox.ac.uk
       1998–2014     Professor of International Refugee Law, University of
                     Oxford, Oxford, United Kingdom
       2010-2011     W. J. Ganshof van der Meersch Chair, Université Libre
                     de Bruxelles (Fondation Philippe Wiener-Maurice
                     Anspach)
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      2010         Julius Stone Visiting Fellow/Visiting Professorial Fellow,
                   Faculty of Law, University of New South Wales, Sydney,
                   Australia
      2010         Director, Hague Academy of International Law, Centre for
                   Research and Studies
      2008–2011    Visiting Professor, Geneva Academy of International
                   Humanitarian Law and Human Rights, Geneva,
                   Switzerland
      1997–2002    Rubin Director of Research, Institute of European
                   Studies, University of Oxford
      1994–1999    Professor of Asylum Law, University of Amsterdam,
                   Amsterdam, The Netherlands
      1989–1997    Professor of Law, Carleton University, Ottawa, Ontario,
                   Canada
      1988–1989    Visiting Social Sciences Professor, Carleton University,
                   Ottawa, Ontario, Canada
      1988         Visiting Professor, Osgoode Hall Law School, York University
                   North York, Ontario, Canada
      1983–1988    Senior Legal Research Officer, Division of Refugee
                   Law and Doctrine
                   Legal Adviser, Regional Bureau for Europe and North America
                   Deputy Chief, Resettlement Section, Office of the United
                   Nations High Commissioner for Refugees (UNHCR), Geneva,
                   Switzerland
      1978–1983    Legal Adviser and sometime Officer-in-Charge
                   UNHCR/UNIC/UNICEF Joint Office for Australia, New
                   Zealand and the South Pacific, Sydney, NSW, Australia
      1976–1978    Legal Adviser
                   UNHCR Branch Office, London, England
      1973–1976    Visiting Lecturer and Examiner in Public International Law
                   Kingston Polytechnic, Kingston-upon-Thames, Surrey, England
      1971–1976    Lecturer, later Senior Lecturer
                   The College of Law, Chancery Lane, London WC2, England

Other Professional Activities

      2017– 2018   Acting Editor-in-Chief, International Journal of Refugee Law, Oxford:
                   Oxford University Press
      2008–        Patron of AsylumAid
      2008–        Member of the Editorial Board, Refugee Survey Quarterly
      2007–2013    Member of the Council of the Overseas Development Institute
      2005–2006    Specialist Adviser to House of Commons Social Affairs Committee on
                   ‘Immigration Controls’
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       2003–2004     Specialist Adviser to House of Lords Sub-Committee F (Social
                     Affairs, Education and Home Affairs) on ‘New Approaches to the
                     Asylum Process’
       2002–         Member of the Editorial Board, International Journal of Refugee Law
       2002–2005     Member of the Editorial Board, Global Governance
       2000–2003     President, Media Appeals Board, Kosovo (appointed by the Special
                     Representative of the Secretary-General, United Nations Mission in
                     Kosovo)
       1997–2010     President, Refugee & Migrant Justice, London (formerly the Refugee
                     Legal Centre)
       1996          Observer, Out-of-Country Voting, Bosnia and Herzegovina Elections
       1995          Director of Research (March-December 1995), United Nations Study
                     on the Impact of Armed Conflict on Children (the Machel Study)
       1995          Adviser, World Health Organization, Geneva—Human rights, AIDS
                     and HIV-based travel restrictions
       1994–2014     Legal Consultant, Inter-Parliamentary Union, Geneva—Free and fair
                     elections, electoral codes of conduct, ethics in public life, international
                     law and organization
       1988–2001     Founding Editor and Editor-in-Chief, International Journal of Refugee
                     Law, Oxford: Oxford University Press
       1988–         Consultant and adviser to governments and international organisations,
                     and to various advocacy groups on a pro bono basis.


Selected Cases

International Court of Justice

       Advisory Opinion on Legal Consequences of the Construction of a Wall in the
       Occupied Palestinian Territory [2004] ICJ Reports 136

European Court of Human Rights

       Azinas v Cyprus 56679/00 [2004] ECHR 191, (2005) 40 EHRR 8

United Kingdom Supreme Court and House of Lords

       Secretary of State for the Home Department v Al-Jedda [2013] UKSC 62
       Al-Sirri v Secretary of State for the Home Department [2012] UKSC 54
       OO (Jordan) v Secretary of State for the Home Department [2009] UKHL 10
       R (ex parte Roma Rights Centre et al) v Immigration Officer, Prague Airport and
       another [2004] UKHL 55 (Pleadings: (2005) 17 International Journal of Refugee Law
       427; https://doi.org/10.1093/ijrl/eei015)

United Kingdom Court of Appeal
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       Secretary of State for the Home Department v MSM (Somalia) [2016] EWCA Civ 715
       Gudanaviciene and others v Director of Legal Aid Casework [2014] EWCA Civ 1622
       (Pleadings: (2015) 26 International Journal of Refugee Law 700;
       https://doi.org/10.1093/ijrl/eeu064)
       Al-Saadoon & Mufdhi v Secretary of State for Defence [2009] EWCA Civ 7
       The Queen (Al Rawi and others) v Secretary of State for Foreign and Commonwealth
       Affairs and another [2006] EWCA Civ 1279 (Pleadings: (2008) 20 International
       Journal of Refugee Law 675; http://www.unhcr.org/refworld/docid/45c350974.html)
       El-Ali v Secretary of State for the Home Department [2002] EWCA Civ 1103
       (Pleadings: http://www.refworld.org/docid/3d1c73c04.html)

Publications
A summary list of publications can be found here:

       https://scholar.google.com.au/citations?user=rfZCrmQAAAAJ&hl=en
